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                        EXHIBIT B
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                 Anthem Blue Cross and Blue Shield                                                                                   Date:     11/7/2018
                 P.O. Box 660350                                                                                                     Form:     CLC02-CXAEN
                 Dallas, TX 75266-0350                                                                                               Doc ID: 23186745
                                                                                                                                     Account #: 0611485163




                        To JESSICA A ROUBERT and Covered Dependents
                        7732 Sue Ellen Dr
                        Port Richey, FL 34668-1745


                        Doc: 23186745 Sequence: 77 Form: 2 Server: 6




                                                                       COBRA COVERAGE ELECTION NOTICE

                 Participant Name: JESSICA A ROUBERT                                                                    Date of Notice: 11/7/2018
01073310007701




                 Employer: Capital One Financial                                                                        †Date of Coverage Loss: 10/31/2018
                 Election Deadline: 1/9/2019                                                                            ‡Coverage Start Date if Electing: 11/1/2018
                 Qualifying Event Reason: Termination

                 To JESSICA A ROUBERT, Covered Spouse, and Covered Dependent Children of JESSICA A ROUBERT, 11485163:
                 This notice has important information about your right to continue your health care coverage in the Capital One Financial group health
                 plan ("Plan") under the Consolidated Omnibus Budget Reconciliation Act of 1985, as amended (COBRA), as well as other health coverage
                 options that may be available to you, including coverage through the Health Insurance Marketplace ("Marketplace") at
                 www.HealthCare.gov or call 1-800-318-2596. You may be able to get coverage through the Marketplace that costs less than COBRA
                 continuation coverage. More information regarding the Marketplace is provided at the end of this notice.

                 Please read the information in this notice very carefully before you make your decision and keep it for your records. This notice applies equally to
                 each qualified beneficiary identified in this notice. If you choose to elect COBRA continuation coverage, you should use the COBRA Coverage
                 Election Form provided later in this notice.

                 Anthem Blue Cross and Blue Shield (Anthem) has been retained by Capital One Financial to notify you and/or your covered dependent children
                 ("Qualified Beneficiaries") of your rights to a temporary extension of group health plan coverage ("COBRA coverage") at group rates after certain
                 events ("qualifying events") that would otherwise cause you to lose coverage under the Plan. NOTE: Notices are sent to the last known address on
                 file with your plan sponsor. It is your obligation to notify Capital One Financial in writing if there are any Qualified Beneficiaries who reside at a
                 different address. Otherwise they may not receive notice of their rights and obligations under COBRA.

                 You are receiving this notice because your coverage under the Plan will end as of 10/31/2018 due to the qualifying event designated above.

                 Instead of enrolling in COBRA coverage there may be other more affordable coverage options for you and your family through the Marketplace,
                 Medicaid, or other group health plan coverage options (such as a spouse's plan) through what is called a "special enrollment period." Some of
                 these options may cost less than COBRA coverage.

                 You should compare your other coverage options with COBRA coverage and choose the coverage that is best for you. For example, if you move
                 to other coverage you may pay more out of pocket than you would under COBRA because the new coverage may impose a new deductible.

                 When you lose job-based health coverage, it's important that you choose carefully between COBRA coverage and other coverage options, because
                 once you've made your choice, it can be difficult or impossible to switch to another coverage option. Also, if you elect coverage through the
                 Marketplace, you may experience a gap in coverage between the date you lose coverage under the group health plan and the date coverage through
                 the Marketplace begins (whereas you will not experience a gap if you elect and pay for COBRA continuation coverage).


                 If you choose to elect COBRA coverage, you do not have to send any premium payment(s) with the COBRA Coverage Election Form. Additional
                 information about payment will be provided to you after you make your election. Important additional information about COBRA coverage and

                                                                                                                                                                          Ex. B at 1
    Case
other         8:21-cv-02852-TPB-TGW
      health coverage                                      Document
                      alternatives (such as coverage through the Marketplace,33-2    Filed
                                                                              which may        04/15/22
                                                                                        cost less             Page 3
                                                                                                  than COBRA Coverage)     of 17inPageID
                                                                                                                       is included the pages       219
following the COBRA Coverage Election Form (see "IMPORTANT INFORMATION: COBRA Coverage Rights and Other Health Coverage
Alternatives" [below]).

Premium payments are considered paid on the date you mail them (as evidenced by your postmark date). If your premium payment is made by check,
and your check is returned because of insufficient funds, your premium is treated as unpaid. You must make full payment within the required time
period, including a grace period, to prevent cancellation. If you submit any premium payment after the required postmark date, or if you submit
any premium payment and you are otherwise ineligible for coverage, these payments will be refunded to you. Acceptance of premium payments
by Anthem is not an indication that coverage is in force. If your coverage is canceled for non-payment of premium, you cannot reinstate it.

Questions concerning your Plan should be addressed to Capital One Financial.

If you have any questions about this notice or need further information about your rights to elect COBRA coverage, please contact at Anthem at
877-775-9393

If you would like to learn more about other Anthem coverage options, visit benefitadminsolutions.com/anthem and click shop plans under the menu
tab.




By electing to enroll in COBRA coverage for the group medical plan, you are also electing to enroll in coverage which will allow access to
Capital One's onsite health centers. Access to the onsite health centers is by appointment only, and is permitted only as long as you remain
enrolled in COBRA Medical Coverage.

In addition, your coverage with the carriers will not be set up until you have enrolled in COBRA coverage and paid the first month's premium.

Please be aware that the subsidized rates will not be available at our online enrollment site until after you make your election.




                                                                                                                                                 Ex. B at 2
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                                                   COBRA COVERAGE ELECTION FORM INSTRUCTIONS

                 Please read the important information about your rights included in the pages following the COBRA Coverage Election Form (see
                 "IMPORTANT INFORMATION: COBRA Coverage Rights and Other Health Coverage Alternatives") for more information on your
                 rights and obligations under COBRA.

                 Please complete the attached COBRA Coverage Election Form and mail the completed COBRA Coverage Election Form by United States Postal
                 Service ("USPS") to Anthem at the following address:

                                                                                 Anthem Blue Cross and Blue Shield
                                                                                        P.O. Box 660350
                                                                                      Dallas, TX 75266-0350

                 IF YOU WANT TO ELECT ONLINE: If you wish to elect online, you can complete your enrollment on our Web site at
                 benefitadminsolutions.com/anthem. You will need to provide your name, date of birth, valid e-mail address, and Social Security number or your
                 designated Anthem account number to register for an Anthem "user name." The information you provide in connection with your online
                 enrollment is kept confidential in accordance with Anthem ' privacy policy, which you can find at benefitadminsolutions.com/anthem.

                 Oral elections will not be accepted. Elections must be made in accordance with this COBRA Coverage Election Form Instructions.

                 Your election must be made on or before the Election Deadline identified on the first page of the notice, which is 1/9/2019. If you mail your
                 election to Anthem, your completed COBRA Coverage Election Form must be postmarked by the United States Postal Service (USPS) on or
                 before 1/9/2019. If Anthem does not receive the COBRA Coverage Election Form, you will be responsible for proving that you mailed the
                 election form by the Election Deadline. You may follow up with Anthem several days after you have mailed to the form to ensure that Anthem
                 received it. If you elect COBRA coverage online, you must make your election at the website specified above and successfully submitted in
                 accordance with the online instructions on or before 1/9/2019 .

                 If you do not mail or electronically submit a completed COBRA Coverage Election Form by the Election Deadline shown above, you will lose
                 your right to elect COBRA coverage. If you reject your right to COBRA coverage before the Election Deadline, you may change your mind by
                 submitting a completed COBRA Coverage Election Form in accordance with the instructions above before the original Election Deadline, which is
                 1/9/2019. However, if you reject your COBRA rights and then later revoke that waiver, the Plan is not required to provide COBRA coverage for
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                 the period ending with the date on which your revocation is made (which means you could have a gap in coverage). Consult the Plan's most recent
                 Summary Plan Description for more information concerning the Plan's procedures for revoking a waiver of the right to COBRA continuation
                 coverage.




                 †See next page for individual plan termination dates
                 ‡See next page for individual plan continuation start dates
                                                                                                                                                                   Ex. B at 3
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                                                COBRA COVERAGE ELECTION FORM

Participant Name: JESSICA A ROUBERT                                                                   Election Deadline: 1/9/2019
Employer: Capital One Financial                                                                       Account #: 0611485163
Form Number: CLC02                                                                                    Document ID: 23186745

                                Please make initial and ongoing premiums payable to Anthem, PO Box 660212, Dallas, TX 75266-0212
                                  (Note: The payment address only accepts regular USPS mail; overnight packages are not accepted.)



Section A1. Group Health Plan Components
Place an "X" in the box adjacent to the monthly cost of the coverage(s) you are selecting. Please note that you may not obtain coverage above that
which was in effect on your Date of Coverage Loss.

                                                                                                                   Date of Group             COBRA Coverage
                                                                                                                   Health Coverage           Start Date if
                                                                                                                   Component Loss            Electing*

   Dental -Delta Dental Enhanced*                                                                                  10/31/2018                11/1/2018


 EE+Sp+1 Child               Employee + Child           Employee +                 Employee Only              Spouse + Child             Spouse Only
                                                        Spouse
        $124.29                     $76.64                     $90.94                        $43.31                    $76.64                    $47.63

   Medical -Anthem BCBS Enhanced                                                                                   10/31/2018                11/1/2018


 Employee Only
       $580.37

   Medical w/ Supp. Medical -(B) Anthem BCBS Basic                                                                 10/31/2018                11/1/2018


 Employee +                  Employee Only              Spouse Only
 Spouse
       $1103.32                     $525.39                     $577.93

*Unless you affirmatively waive coverage and then later revoke that coverage.

Section B. Participant Information
Please verify our records are accurate and make changes as necessary. You MUST select the plan type for each individual identified below that you
intend to cover. You may not decline coverage for a qualified beneficiary spouse or an adult covered dependent child but you may elect coverage for
any other qualified beneficiary. If you need additional COBRA Election Forms, please contact Anthem at 877-775-9393 or you can go to
benefitadminsolutions.com/anthem.

   Participant Name                                                               Relationship          Birth Date              Gender
   ROUBERT, JESSICA A                                                                 Self                     /1983               F
   Dental                      Medical                     Medical w/
                                                           Supp. Medical



   Dependent Name(s)                                                              Relationship          Birth Date              Gender
   ROUBERT NIEVES, EFRAIN                                                           Spouse                    /1977              M
   Dental                      Medical w/
                               Supp.
                               Medical



Section C. Medicare Entitlement
Is the covered employee enrolled in Medicare Part A, Part B, or both?                Yes        No
If yes, please provide the enrollment date, as shown on the Medicare card: _____________________________________________
Section D. Medicare Part D
Are you or a dependent enrolled in Medicare Part D?                   Self Only              Dependent Only                 Both




                                                                                                                                                     Ex. B at 4
                    Case Authorization
                 Applicant's 8:21-cv-02852-TPB-TGW
                                           and Agreement                 Document 33-2 Filed 04/15/22 Page 6 of 17 PageID 222
                 By my signature below, I:
                 ·   elect COBRA continuation of the group health plan component(s) checked in Section A under the Capital One Financial group health plan;
                 ·   understand that any COBRA election I make above is deemed to include an election for all other qualified beneficiaries identified above except
                     as specified otherwise above; and
                 ·   attest that I have read and understand the information provided to me in this COBRA Coverage Election Notice, COBRA Coverage Election
                     Form, and “IMPORTANT INFORMATION: COBRA Coverage Rights and Other Health Coverage Alternatives" enclosure.



                 Participant Signature: ____________________________________________________ Date: ___________________________
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                                                                                                                                                                 Ex. B at 5
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                     IMPORTANT INFORMATION: COBRA COVERAGE RIGHTS AND OTHER HEALTH COVERAGE
                                                  ALTERNATIVES

COBRA COVERAGE
COBRA coverage is a continuation of Plan coverage when coverage would otherwise end because of a qualifying event (described below). After a
qualifying event occurs and any required notice of that event is properly provided to the Plan Administrator, COBRA coverage must be offered to
individuals who lose Plan coverage and are qualified beneficiaries.

A qualified beneficiary is any of the following who are covered under the Plan on the day before a qualifying event: (1) the employee or former
employee (“covered employee”), (2) the employee’s spouse (“covered spouse”), and/or (3) a “child” of the employee, as defined by the Plan
(“covered dependent child”). In addition, a child born to, adopted by, or placed for adoption with a covered employee during a period the covered
employee’s COBRA coverage is considered a qualified beneficiary to the extent that such child is enrolled in accordance with the terms of the
Plan. A child of the covered employee receiving benefits pursuant to a qualified medical child support order (QMCSO), to the extent that such
child is enrolled in accordance with the terms of the Plan, is entitled to the same rights to elect COBRA coverage as any other covered dependent
child.

COBRA coverage is generally the same coverage provided under the Plan to similarly situated active individuals who are not on COBRA. Each
qualified beneficiary who elects COBRA coverage will have the same rights under the Plan as other similarly situated non-COBRA participants
covered under the group health plan component(s) of the Plan elected by the qualified beneficiary, including annual enrollment and special
enrollment rights.

COBRA (and the description of COBRA coverage contained in this notice) generally applies only to the group health plan benefits offered under
the Plan and not to any other benefits (e.g., life insurance, disability insurance).




QUALIFYING EVENTS
For covered employees, you may elect COBRA coverage if you lose coverage under the Plan because of either one of the following qualifying
events: (1) your hours of employment are reduced; or (2) your employment ends for any reason (other than gross misconduct on your part).

For the covered spouse, you may elect COBRA coverage if you lose coverage under the Plan because of any of the following qualifying events: (1)
the covered employee’s hours of employment are reduced; (2) the covered employee’s employment ends for any reason (other than his or her gross
misconduct); (3) the covered employee dies; (4) the covered employee becomes entitled to Medicare benefits under Part A, Part B, or both; or (5)
you and the covered employee divorce or legally separate. Also, if the covered spouse’s coverage is reduced or dropped by the covered employee
in anticipation of a divorce or legal separation, and a divorce or legal separation later occurs, then the divorce or legal separation may be
considered a qualifying event for the spouse even though the coverage was canceled or reduced before the divorce or legal separation. If the
ex-spouse notifies the Plan Administrator within 60 days after the divorce and the Plan Administrator determines, in its sole discretion based on
the applicable facts and circumstances, that the coverage was dropped in anticipation of the divorce, then COBRA coverage may be available
beginning with the date of the divorce (if properly elected).

For a covered dependent child, you may elect COBRA coverage if you lose coverage under the Plan because of any of the following qualifying
events: (1) the covered employee’s hours of employment are reduced; (2) the covered employee’s employment ends for any reason (other than his
or her gross misconduct); (3) the covered employee dies; (4) the covered employee becomes entitled to Medicare benefits under Part A, Part B, or
both; (5) the covered employee and his or her spouse divorce or legally separate; or (6) you cease to be eligible for coverage under the Plan as a
dependent.

You also have a right to elect COBRA coverage if you are covered under the Plan as a retired employee, a covered spouse of a retired employee,
the surviving spouse of a retired employee, or a covered dependent child of a retired employee, and lose retiree coverage within one year before or
after the commencement of proceedings under Title 11 (bankruptcy), United States Code.



ELECTING COBRA COVERAGE

To elect COBRA coverage, you must complete the COBRA Coverage Election Form and submit it to Anthem according to the instructions
included on the COBRA Coverage Election Form by the date specified on the COBRA Coverage Election Form. Failure to do so will result in
a loss of the right to elect COBRA coverage under the Plan. It is recommended that you retain a copy of your COBRA coverage election and
any documentation substantiating your submission for your records. Each qualified beneficiary has an independent right to make a COBRA
election. That means that a covered employee and a covered spouse (if the spouse is a qualified beneficiary) may elect COBRA coverage on behalf
of all the qualified beneficiaries, and parents may elect COBRA coverage on behalf of their children. However, a covered employee may not
decline COBRA coverage for a covered spouse or an adult covered dependent child (if the spouse or adult covered dependent child is a qualified
beneficiary). If the covered employee does not elect coverage for the qualified beneficiary spouse, the qualified beneficiary spouse may elect
COBRA coverage separately on behalf of the covered spouse and all other qualified beneficiaries. In addition, the parent or legal guardian of a
minor covered dependent child who is a qualified beneficiary may elect coverage on behalf of the minor child.

Additional information about the group health plan component(s) of the Plan is available in the Plan’s summary plan description (SPD). If you do
not have a copy of the SPD, you may obtain one from the Plan Administrator of your group health plan.

Qualified beneficiaries who are entitled to elect COBRA coverage may do so even if they have other group health plan coverage or are entitled to
Medicare benefits (under Part A, Part B, or both) on or before the date on which COBRA coverage is elected. However, a qualified beneficiary’s
                                                                                                                                                      Ex. B at 6
                    Case
                 COBRA         8:21-cv-02852-TPB-TGW
                           coverage may terminate if, after electing COBRADocument           33-2
                                                                            coverage, he or she becomesFiled
                                                                                                        entitled 04/15/22        Page
                                                                                                                 to Medicare benefits (under8Part
                                                                                                                                               ofA,17
                                                                                                                                                    PartPageID
                                                                                                                                                        B, or               224
                 both) or covered under other group health plan coverage (see “Duration of COBRA Coverage” below for more information on when COBRA
                 coverage ends).
                 When considering whether to elect COBRA coverage, you should consider that you may have special enrollment rights under federal law. You
                 have the right to request special enrollment in another group health plan for which you are otherwise eligible (such as a plan sponsored by your
                 spouse’s employer) within 30 days after your group health coverage under the Plan ends because of the qualifying event listed above. You will
                 also have the same special enrollment right after you exhaust the maximum COBRA coverage period available to you.



                 DURATION OF COBRA COVERAGE

                 The maximum COBRA period is generally measured from the date of the qualifying event, even if coverage is not immediately lost (unless stated
                 otherwise in your SPD). COBRA coverage begins on the day following the date that coverage under the Plan is lost because of the qualifying
                 event.

                 In the case of a loss of coverage due to the covered employee’s termination of employment or reduction in hours of the covered employee’s
                 employment, coverage may generally last for up to 18 months.

                 When the qualifying event is the covered employee’s termination of employment or reduction in hours of the covered employee’s employment, and
                 the employee became entitled to Medicare benefits (under Part A, Part B, or both) less than 18 months before the qualifying event, COBRA
                 coverage for qualified beneficiaries (other than the employee) who lose coverage as a result of the termination of employment or reduction in hours
                 qualifying event can last up to 36 months after the date of Medicare entitlement. For example, if a covered employee becomes entitled to Medicare
                 8 months before the date on which her employment terminates, COBRA coverage for her spouse and children who lost coverage as a result of her
                 termination of employment can last up to 36 months after the date of Medicare entitlement, which is equal to 28 months after the date of the
                 qualifying event (36 months minus 8 months). If you were already entitled to Medicare before electing COBRA, please notify Anthem of the date
                 of your Medicare entitlement according to Anthem notice procedures (see “Notice Procedures for Qualified Beneficiaries” [below]).

                 In the case of a loss of coverage due to the death of the employee, the covered employee’s divorce or legal separation, the covered employee’s
                 becoming enrolled in Medicare benefits (under Part A, Part B, or both), or a covered child losing eligibility as a child under the terms of the Plan,
                 COBRA coverage may last for up to 36 months (provided that timely notice of the qualifying event was provided in accordance with the Plan’s
                 notice procedures).
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                 COBRA coverage under a Health FSA may only last through the end of the plan year in which the qualifying event occurs (unless stated otherwise
                 in the group health plan SPD). This coverage may not be extended beyond the end of the plan year (see “Special Health FSA Rule” [below]),
                 except for a grace period applicable to the plan year.

                 The COBRA periods described above are maximum coverage periods. The law provides that COBRA coverage may be terminated prior to the end
                 of the maximum coverage periods described in this notice for any of the following reasons: (1) the employer/former employer no longer provides
                 any group health coverage to any of its employees; (2) the premium for COBRA coverage is not paid in a timely manner; (3) you first become,
                 after electing COBRA coverage, covered under any other group health plan (as a covered employee or otherwise); (4) you first become, after
                 electing COBRA coverage, entitled to Medicare benefits (under Part A, Part B, or both); or (5) during a disability extension period (see “Disability
                 Extension of COBRA Coverage” [below]), the disabled qualified beneficiary is determined by the Social Security Administration to be no longer
                 disabled (COBRA coverage for all qualified beneficiaries, not just the disabled qualified beneficiary, will terminate). COBRA coverage may also
                 be terminated for any reason the Plan would terminate coverage of a participant or beneficiary not receiving COBRA coverage (such as fraud).

                 You must notify Anthem in writing as soon as possible within 30 days if, after electing COBRA coverage, a qualified beneficiary becomes covered
                 under other group health plan coverage or becomes enrolled in Medicare benefits (under Part A, Part B, or both) according to Anthem notice
                 procedures (see “Notice Procedures for Qualified Beneficiaries” [below]).

                 SPECIAL HEALTH FSA RULE

                 If you have coverage under a Health FSA that is an excepted benefit (as defined by HIPAA’s portability rules), you may only continue coverage
                 through the end of the plan year in which the qualifying event occurs (unless stated otherwise in the group health plan SPD), except for a grace
                 period applicable to the plan year.

                 Moreover, only those who have “underspent” their account as of the date of the qualifying event may elect Health FSA coverage. A qualified
                 beneficiary has an “underspent” account if the account balance at the time of the qualifying event is equal to or more than the amount of the
                 premiums for Health FSA COBRA coverage that will be charged for the remainder of the plan year. COBRA coverage will consist of the Health
                 FSA coverage in force at the time of the qualifying event (that is, the elected annual limit reduced by reimbursable claims submitted up to the time
                 of the qualifying event). The “use-it-or-lose-it” rule will continue to apply, so any unused amounts will be forfeited at the end of the plan year, and
                 COBRA coverage will terminate at the end of the plan year (unless stated otherwise in the group health plan SPD), subject to any applicable grace
                 period attributable to the plan year.




                                                                                                                                                                           Ex. B at 7
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SPECIAL RULES FOR LEAVES OF ABSENCE DUE TO SERVICES IN THE UNIFORMED SERVICES

If a covered employee takes a leave of absence to perform services in the Uniformed Services (as addressed in the Uniformed Services
Employment and Reemployment Act [USERRA]) that is expected to last 31 days or more, the covered employee may be able to continue health
coverage for the employee and any covered dependents until the earlier of 24 months from the date the leave began or the date that the employee
fails to return to or apply for work as required under USERRA. The cost to continue this coverage during the 24-month period is 102 percent of
the applicable premium. The USERRA continuation period will run concurrent with the COBRA period described herein, unless specified
otherwise in the SPD. The rights described in this notice apply only to the COBRA continuation period. Notwithstanding anything to the contrary
in this notice, continuation of coverage under a military leave of absence covered under USERRA will be administered in accordance with the
requirements of USERRA.

EXTENDING THE DURATION OF COBRA COVERAGE

If you elect COBRA coverage resulting from a covered employee’s termination of employment or reduction in hours of the covered employee’s
employment, an extension of the maximum period of coverage may be available if a qualified beneficiary is disabled or a second qualifying event
occurs. You must notify Anthem of a disability or a second qualifying event in order to extend the period of COBRA coverage. Failure to provide
notice of a disability or second qualifying event may eliminate the right to extend the period of COBRA coverage. The determination is at the sole
discretion of the Plan Administrator. (The period of COBRA coverage under a Health FSA cannot be extended [unless stated otherwise in the
group health plan SPD].)

DISABILITY EXTENSION OF COBRA COVERAGE

If you or any qualified beneficiary in your family is determined by the Social Security Administration to be disabled under Title II or XVI of the
Social Security Act, the maximum COBRA coverage period that results from a covered employee’s termination of employment or reduction in
hours of the covered employee’s employment (generally 18 months, as described above) may be extended for an additional 11 months of COBRA
coverage (for a total of 29 months). This disability must have started at some time prior to or within the first 60 days of the COBRA continuation
period arising from a qualifying event that is a termination of employment or reduction in hours of employment and must last at least until the end
of the period of COBRA coverage that would otherwise be available without the disability extension (generally 18 months, as described above).

While the Social Security Administration offices in each state vary and do not always provide the same “Social Security Administration
Retirement, Survivors and Disability Insurance Notice of Award” letter, many such award letters list this disability start date under the heading
“The Date You Became Disabled.” For example, if you receive a Social Security Administration award letter that reads, “We found that you
became disabled under our rules on January 15, 2002,” the disability start date for this purpose would be January 15, 2002

Each qualified beneficiary in your family who has elected COBRA coverage due to the same qualifying event as the disabled qualified beneficiary
will be entitled to the disability extension if one of them qualifies.

The disability extension is available only if you notify Anthem according to Anthem notice procedures (see “Notice Procedures for Qualified
Beneficiaries” [below]) of the Social Security Administration’s determination of disability within 60 days after the latest of: (1) the date of the
determination of disability by the Social Security Administration; (2) the date of the qualifying event that is the covered employee’s termination of
employment or reduction in hours of the covered employee’s employment; or (3) the date on which the qualified beneficiary loses (or would lose)
coverage under the terms of the plan as a result of the covered employee’s termination of employment or reduction in hours of the covered
employee’s employment. In addition, you must also provide notice of the Social Security Administration’s determination of disability prior to the
end of the 18-month continuation period (regardless of when the 60-day period would otherwise end).

If these procedures are not followed or if the notice is not provided during the applicable notice period, then you may be determined to be ineligible
to receive the disability extension of COBRA coverage. This determination is at the sole discretion of the Plan Administrator.

If the qualified beneficiary is determined by the Social Security Administration to no longer be disabled, you must notify Anthem of that fact as soon
as possible but no later than 30 days after the Social Security Administration’s final determination according to Anthem notice procedures (see
“Notice Procedures for Qualified Beneficiaries” [below]). If COBRA coverage is extended due solely to the disability, extended COBRA coverage
will cease on the first day of the month that begins more than 30 days after the Social Security Administration’s notice that the qualified beneficiary
is no longer disabled or the end of the maximum COBRA period, whichever is earlier.

SECOND QUALIFYING EVENT EXTENSION OF COBRA COVERAGE

If a qualified beneficiary who is a covered spouse or covered dependent child experiences another qualifying event during the first 18 months of
COBRA coverage (because of the covered employee’s termination of employment or reduction in hours of the covered employee’s employment) or
during an 11-month disability extension period (see “Disability Extension of COBRA Coverage” [above]), this qualified beneficiary receiving
COBRA coverage may receive up to 18 additional months of COBRA coverage (for a total of 36 months), if notice of the second qualifying event is
provided in accordance with Anthem notice procedures (see “Notice Procedures for Qualified Beneficiaries” [below]).


This extension may be available to the covered spouse and any covered dependent children receiving COBRA coverage if the employee/former
employee dies, becomes entitled to Medicare benefits (under Part A, Part B, or both), or gets divorced or legally separated, or if the covered
dependent child stops being eligible under the Plan as a “dependent child,” but only if the event would have caused the spouse or dependent child to
lose coverage under the Plan had the first qualifying event not occurred. (A second event will be a “second qualifying event” for COBRA purposes
only to the extent that it would have caused the qualified beneficiary to lose coverage under the Plan had it been the initial qualifying event.)

This second qualifying event extension is available only if you notify Anthem according to Anthem’ notice procedures (see “Notice Procedures for
Qualified Beneficiaries” below) of the second qualifying event within 60 days after the date of the second qualifying event occurs.
                                                                                                                                                        Ex. B at 8
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                 If you do not follow Anthem notice procedures, then you will not be eligible for the extension of coverage.




                 COST OF COBRA COVERAGE

                 Generally, each qualified beneficiary is required to pay the entire cost of COBRA coverage. The amount a qualified beneficiary may be required to
                 pay may not exceed 102 percent (or, in the case of an extension of COBRA coverage due to a disability, 150 percent) of the cost to the group health
                 plan (including both employer and employee contributions) for coverage of a similarly situated plan participant or beneficiary who is not receiving
                 COBRA coverage. The current required monthly payment for each group health plan component of the Plan under which you are entitled to elect
                 COBRA coverage is shown on the COBRA Coverage Election Form. Note that these amounts are subject to change in the future in accordance
                 with the Plan's provisions and will most likely be higher than they are now.

                 TRADE ADJUSTMENT ASSISTANCE

                 The Trade Act of 2002 created the Health Coverage Tax Credit (HCTC) for certain individuals who become eligible for trade adjustment assistance
                 and for certain retired individuals who are receiving pension payments from the Pension Benefit Guaranty Corporation (PBGC) ("Eligible
                 Individuals"). The HCTC expired on January 1, 2014, but was retroactively reinstated and modified by the Trade Adjustment Assistance
                 Reauthorization Act of 2015 for coverage periods beginning before January 1, 2020. Under these tax provisions, Eligible Individuals can either take
                 a tax credit or get advance payment of 72.5 percent of premiums paid for qualified health insurance, including COBRA continuation coverage. For




                 PAYING FOR COBRA COVERAGE

                 INITIAL PREMIUM PAYMENT

                 You must make your initial payment for COBRA coverage no later than 45 days after the date of your election. The "date of your election" is the
                 date on which your completed COBRA Coverage Election Form is postmarked by the USPS, if mailed, or the date on which your COBRA election
                 is successfully submitted electronically if made at the website specified above. If you do not make your first payment for COBRA coverage in full
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                 no later than 45 days after the date of your election, you will lose all COBRA rights under the Plan.

                 Your initial premium payment must cover the cost of COBRA coverage from the time your coverage under the Plan would have otherwise
                 terminated up through the end of the month preceding the month in which your payment is made. For example, a June 1 election, based on an April
                 30 qualifying event and loss of coverage under the Plan, would require an initial premium payment equaling the premiums for May and June and is
                 due on or before July 15, the 45th day after the COBRA coverage election. You are responsible for ensuring that the amount of your initial payment
                 is enough to cover this entire period. You may contact Anthem to confirm the correct amount of your initial premium payment.

                 Claims for benefits may not be processed and paid until after you have elected COBRA coverage and paid required premiums.

                 MONTHLY PREMIUM PAYMENTS

                 After you make your initial premium payment for COBRA coverage, you will be required to make monthly payments for each COBRA coverage
                 period that follows. The amount due for each coverage period for each qualified beneficiary is shown on the COBRA Coverage Election Form. The
                 periodic payments can be made on a monthly basis. Under the Plan, each of these periodic payments for COBRA coverage is due on the first day of
                 the month for that coverage period. You may receive a courtesy monthly invoice within 2 weeks of your COBRA coverage election. You may also
                 receive courtesy monthly invoices for each subsequent period thereafter, assuming your COBRA coverage has not been canceled. However, you
                 are responsible for paying the full premium on time even if you do not receive an invoice.

                 GRACE PERIODS FOR MONTHLY PREMIUM PAYMENTS

                 Although monthly payments are due on the first day of each month of COBRA coverage, you will be given a grace period of 30 days after the first
                 day of the month to make each monthly payment. You will receive COBRA coverage will be provided for each month coverage period as long as
                 payment for that month coverage period is made before the end of the grace period for that payment.

                    IMPORTANT: If you pay a monthly payment later than the first day of the month to which it applies, but before the end of the
                    grace period for the month, your coverage under the Plan may be suspended as of the first day of the month and then retroactively
                    reinstated (going back to the first day of the month) when the monthly payment is received. This means that any claims for benefits
                    you submit for benefits while coverage is suspended may not be processed and paid until after you have timely paid the full premium.
                    Anthem will not request an update of eligibility for any qualified beneficiary until the monthly premium due is received and applied.
                    Depending upon the timing of receipt of a premium payment, it may take several days to process and update eligibility with the
                    insurance carrier.

                 If you fail to make a monthly payment before the end of the grace period for that month, you will lose all rights to COBRA coverage under the Plan
                 and your coverage will end as of the last day of the last month for which you made a full and timely premium payment.

                 Your courtesy monthly invoices will provide a remittance address and indicate the amount owed and due date. This invoice should be signed,
                 detached, and enclosed with each month’s premium payment. If mailed, your payment is considered to have been made on the date that it is USPS

                                                                                                                                                                   Ex. B at 9
   Case provided
postmarked   8:21-cv-02852-TPB-TGW                          Document
                      that it is ultimately received by Anthem.  Anthem is a 33-2
                                                                             third-partyFiled   04/15/22
                                                                                        administrator              Pagein the
                                                                                                      and is not engaged    11provision
                                                                                                                                 of 17ofPageID
                                                                                                                                             health         227
care benefits. Any deposit of a payment by Anthem prior to return of such money will not constitute an acceptance of the premium payment.
Depending on the timing of receipt of payment and scheduled communication updates, it may take several days to update eligibility with your group
health insurance carrier(s). Waiting until the end of the grace period to make your payment could also put you at risk of not having sufficient time to
correct errors. You will not be considered to have made any payment if your payment is returned due to insufficient funds or if there is otherwise a
discrepancy with your payment (e.g., funds are not immediately available or verifiable, invalid banking account number, unsigned checks, incorrect
payment amounts, payments sent to the wrong address, late or missed pickups by the USPS) and your account for that period will be marked as
unpaid. Anthem cannot guarantee that you will be notified of the discrepancy in time to correct your payment prior to the end of any applicable
grace period. In such event, you will lose all rights to COBRA coverage under the Plan. In the event that the employer or plan sponsor terminates
the Plan (through voluntary termination or bankruptcy) your group health coverage may be terminated retroactively. In the event that the Plan is
terminated, Anthem cannot guarantee a refund of your payment if Anthem has already forwarded that payment to the employer or plan sponsor for
payment on your behalf.


NOTICE PROCEDURES FOR QUALIFIED BENEFICIARIES
     IMPORTANT: If your notice is late or if you do not follow these notice procedures, you and all related qualified
     beneficiaries may lose the right to any extension of COBRA coverage.


Any required notice the qualified beneficiary is required to furnish (as described above) must follow these notices procedures. Notices must be sent
to Anthem in writing (by mail or electronic transmittal [e.g., e-mail]) to:

Anthem Blue Cross and Blue Shield
P.O. Box 660350
Dallas, TX 75266-0350
Fax: 1-866-735-8191
customerdelivery@benefitadminsolutions.com

If a different address and/or procedures for providing notices to the Plan appear in the Plan's most recent SPD, you must follow those notice
procedures or deliver your notice to that address.

Oral notice (including notice by telephone) is not acceptable.

Any notice you provide must contain the name of the Plan (Capital One Financial group health plan); the name, Anthem Account Number or Social
Security number, and address of the employee/former employee who is or was covered under the Plan; the name(s) and address(es) of all qualified
beneficiary(ies) who lost coverage as a result of the qualifying event; and the certification, signature, name, address, and telephone number of the
person providing the notice.

The employee/former employee who is or was covered under the Plan, a qualified beneficiary who lost coverage due to the qualifying event
described in the notice, or a representative acting on behalf of either may provide the notices described herein. A notice provided by any of these
individuals will satisfy any responsibility to provide notice on behalf of all qualified beneficiaries who lost coverage due to the qualifying event
described in the notice.




ADDITIONAL NOTICE PROCEDURES FOR A NOTICE OF DISABILITY

A Notice of Disability must also contain the name(s) and address(es) of all qualified beneficiary(ies) who lost coverage due to the initial qualifying
event and who are currently receiving COBRA coverage at the time the Notice of Disability is provided; the name and address of the disabled
qualified beneficiary as determined by the Social Security Administration; the date that the qualified beneficiary became disabled as determined by
the Social Security Administration; the date that the Social Security Administration made its determination of disability (generally, this is the date on
which the "Social Security Administration Retirement, Survivors and Disability Insurance Notice of Award" letter was issued); and a statement as to
whether or not the Social Security Administration has subsequently determined that the qualified beneficiary is no longer disabled. A copy of the
"Social Security Administration Retirement, Survivors and Disability Insurance Notice of Award" letter should be included (or any other
substantiating documentation provided to you by the Social Security Administration that discloses the date on which you became disabled and the
date on which the Social Security Administration made such determination).

If you provide a written notice to Anthem that does not contain all of the information and documentation specified by these Notice Procedures and
Additional Notice Procedures for a Notice of Disability, such a notice will be considered sufficient if it is mailed or transmitted electronically to
Anthem at the address, facsimile number, or e-mail address specified above or provided directly to the Plan Administrator according to the notice
procedures appearing in the Plan's most recent SPD; the notice is provided by the deadline specified above; and the notice is substantiated with any
additional information and documentation as the Plan and/or Anthem deems necessary to meet these requirements (as described in these Notice
Procedures for a Notice of Disability) within 10 business days after a written request from Anthem or the Plan for more information (or, if later, by
the deadline for the Notice of Disability described above).
If these procedures are not followed or if the notice is not provided during the applicable 60-day notice period and within 18 months after the
covered employee's termination of employment or reduction in hours of the covered employee's employment, then you may be determined to be
ineligible to receive the disability extension of COBRA coverage. This determination is at the sole discretion of the Plan Administrator.

ADDITIONAL NOTICE PROCEDURES FOR A NOTICE OF A SECOND QUALIFYING EVENT

A Notice of a Second Qualifying Event must also contain the name(s) and address(es) of all qualified beneficiary(ies) who lost coverage due to the

                                                                                                                                                       Ex. B at 10
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                 initial qualifying event and are currently receiving COBRA coverage at the time the Notice of a Second Qualifying Event is provided; the second
                 qualifying event (i.e., the employee/former employee dies, becomes entitled to Medicare benefits [under Part A, Part B, or both], or gets divorced or
                 legally separated, or if the covered child stops being eligible under the Plan as a child; and the date that the second qualifying event occurred.

                 If the Notice of a Second Qualifying Event relates to the death of the employee/former employee, you must, if requested, provide additional
                 satisfactory documentation of the date of death (e.g., a death certificate).

                 If the Notice of a Second Qualifying Event relates to the entitlement to Medicare benefits (under Part A, Part B, or both) of the employee/former
                 employee, your notice must include the date that Medicare entitlement occurred and a copy of the Medicare card showing the date of Medicare
                 entitlement. (Typically, a covered employee's entitlement to Medicare benefits [under Part A, Part B, or both] will not be a qualifying event for
                 spouses or covered children of active employees due to the Medicare Secondary Payer rules; in such a case, this extension is not available under the
                 Plan when an employee/former employee becomes entitled to Medicare benefits after his or her termination of employment or reduction in hours of
                 employment.)

                 If the Notice of a Second Qualifying Event relates to a divorce or legal separation, your notice must include a copy of the decree of divorce or legal
                 separation. If the Notice of a Second Qualifying Event relates to a covered child's loss of eligibility under the Plan as a child, you must, if requested,
                 provide additional satisfactory documentation of the date on which this loss of eligibility occurred (e.g., a birth certificate establishing the child's
                 age).
                 If you provide a written notice to Anthem that does not contain all the information and documentation specified in these Notice Procedures and
                 Additional Notice Procedures for a Notice of a Second Qualifying Event, such a notice will be considered sufficient if it is mailed or transmitted
                 electronically to Anthem at the address, facsimile number, or e-mail address specified above or provided directly to the Plan Administrator according
                 to the notice procedures appearing in the Plan's most recent SPD; the notice is provided by the deadline specified above; and the notice is
                 substantiated with any additional information and documentation as the Plan and/or Anthem deems necessary to meet these requirements (as
                 described in these Notice Procedures for a Notice of a Second Qualifying Event) within 10 business days after a written request from Anthem or the
                 Plan for more information (or, if later, by the deadline for the Notice of a Second Qualifying Event described above).

                 If these procedures are not followed or if the notice is not provided during the applicable 60-day notice period, then you may be determined to be
                 ineligible to receive the second qualifying event extension of COBRA coverage. This determination is at the sole discretion of the Plan
                 Administrator.


                 ADDITIONAL NOTICE PROCEDURES FOR A NOTICE OF OTHER GROUP HEALTH PLAN COVERAGE OR
                 MEDICARE ENTITLEMENT
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                 A Notice of Other Group Health Plan Coverage or Medicare Entitlement must contain the name of the Plan (Capital One Financial group health
                 plan); the name, Anthem Account Number or Social Security number, and address of the employee or former employee who is or was covered
                 under the Plan; the name(s) and address(es) of all qualified beneficiary(ies) who lost coverage due to the initial qualifying event and who are
                 currently receiving COBRA coverage at the time the Notice of Other Group Health Plan Coverage or Medicare Entitlement is provided; the name
                 and address of the qualified beneficiary(ies) who obtained other coverage or became entitled to Medicare benefits (under Part A, Part B, or both);
                 the date the other coverage became effective; and evidence of the effective date of other group health plan coverage (e.g., a copy of the insurance
                 card) or the date Medicare entitlement occurred (i.e., a copy of the Medicare card showing the date of Medicare entitlement).

                 If a qualified beneficiary becomes, after electing COBRA coverage, covered under other group health plan coverage or entitled to Medicare
                 benefits (under Part A, Part B, or both), that qualified beneficiary's COBRA coverage will terminate (retroactively if applicable) regardless of
                 whether or when Notice of Other Group Health Plan Coverage or Medicare Entitlement is provided. Capital One Financial may require repayment
                 to the Plan of all benefits paid after the COBRA coverage termination date.

                 ADDITIONAL NOTICE PROCEDURES FOR REQUESTS FOR CANCELLATION OF COBRA COVERAGE

                 If you are currently receiving COBRA coverage for which a premium has yet to be paid and wish to cancel your further COBRA coverage, you may
                 refrain from paying the COBRA premium for the coverage period that begins when you no longer want COBRA coverage. For example, if a
                 qualified beneficiary is receiving COBRA coverage, has paid premiums through December 31, and wishes to cancel further COBRA coverage
                 effective January 1, the qualified beneficiary would simply not pay the premium for the January coverage period. If the January premium is not
                 paid by the expiration of the applicable grace period (i.e., January 31), the qualified beneficiary's COBRA coverage would cancel automatically on
                 December 31.

                 ADDITIONAL NOTICE PROCEDURES FOR A NOTICE OF CHANGE OF ADDRESS

                 To protect your and your family's rights, it is important that you keep Anthem informed of the current addresses of all qualified beneficiaries under
                 the Plan. You should also keep a copy, for your records, of any notices you send to the Plan Administrator and/or Anthem.

                 If your address or the address of a family member changes during a period of COBRA coverage, you must immediately notify Anthem in writing
                 following the notice procedures described above.



                 HEALTH INSURANCE MARKETPLACE AND OTHER COVERAGE OPTIONS

                 HEALTH INSURANCE MARKETPLACE

                 The Marketplace offers "one-stop shopping" to find and compare private health insurance options. In the Marketplace, you could be eligible for a

                                                                                                                                                                      Ex. B at 11
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new kind of tax credit that lowers your monthly premiums and cost-sharing reductions (amounts that lower your out-of-pocket costs for deductibles,
coinsurance, and copayments) right away, and you can see what your premium, deductibles, and out-of-pocket costs will be before you make a
decision to enroll. Through the Marketplace, you'll also learn if you qualify for free or low-cost coverage from Medicaid or the Children's Health
Insurance Program (CHIP). You can access the Marketplace for your state at www.HealthCare.gov.

Coverage through the Marketplace may cost less than COBRA coverage. Being offered COBRA coverage won't limit your eligibility for coverage or
for a tax-credit through the Marketplace (unless you are a current employee and the COBRA coverage is affordable and provides minimum value).

ENROLLING IN MARKETPLACE COVERAGE

You always have 60 days from the time you lose your job-based coverage to enroll in the Marketplace. That is because losing your job-based
coverage is a "special enrollment" event. After 60 days your special enrollment period will end and you may not be able to enroll, so you should
take action right away. In addition, during what is called an "open enrollment" period, anyone can enroll in Marketplace coverage.

To find out more about enrolling in the Marketplace, such as when the next open enrollment period will be and what you need to know about
qualifying events and special enrollment periods, visit www.HealthCare.gov.

SWITCHING FROM COBRA COVERAGE TO MARKETPLACE COVERAGE

If you sign up for COBRA coverage, you can switch to a Marketplace plan during a Marketplace open enrollment period. You can also end your
COBRA coverage early and switch to a Marketplace plan if you have another qualifying event such as marriage or birth of a child through something
called a "special enrollment period." NOTE: If you terminate your COBRA coverage early without another qualifying event, you will have to wait to
enroll in Marketplace coverage until the next open enrollment period, and could end up without any health coverage in the interim.

Once you've exhausted your COBRA coverage and the coverage expires, you will be eligible to enroll in Marketplace coverage through a special
enrollment period, even if Marketplace open enrollment has ended.

SWITCHING FROM MARKETPLACE COVERAGE TO COBRA

If you sign up for Marketplace coverage instead of COBRA coverage, you cannot switch to COBRA coverage after your election period ends under
any circumstances.

ENROLLING IN ANOTHER GROUP HEALTH PLAN

You may be eligible to enroll in coverage under another group health plan (like a spouse's plan), if you request enrollment within 30 days of the loss
of coverage.

If you or your dependent chooses to elect COBRA coverage instead of enrolling in another group health plan for which you are eligible, you will
have another opportunity to enroll in the other group health plan within no less than 30 days of losing your COBRA coverage.

CHOOSING COVERAGE OPTIONS

When considering your options for health coverage, you may want to think about the following:

PREMIUMS

Your previous plan can charge up to 102 percent of total plan premiums for COBRA coverage. Other options, like coverage on a spouse's plan or
through the Marketplace, may be less expensive.

PROVIDER NETWORKS

If you are currently receiving care or treatment for a condition, a change in your health coverage may affect your access to a particular health care
provider. You may want to check to see if your current health care providers participate in a network as you consider options for health coverage.

DRUG FORMULARIES

If you are currently taking medication, a change in your health coverage may affect your costs for medication - and in some cases, your medication
may not be covered by another plan. You may want to check to see if your current medications are listed in drug formularies for other health
coverage.

SEVERANCE PAYMENTS

If you lost your job and received a severance package from your former employer, your former employer may have offered to pay some or all of your
COBRA premium payments for a period of time. In this scenario, you may want to contact the Department of Labor at 1-866-444-3272 to discuss
your options.

SERVICE AREAS

Some plans limit their benefits to specific service or coverage areas - so if you move to another area of the country, you may not be able to use your
benefits. You may want to see if your plan has a service or coverage area, or other similar limitations.

                                                                                                                                                    Ex. B at 12
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                 OTHER COST-SHARING

                 In addition to premiums or contributions for health coverage, you probably pay copayments, deductibles, coinsurance, or other amounts as you use
                 your benefits. You may want to check to see what the cost-sharing requirements are for other health coverage options. For example, one option may
                 have much lower monthly premiums, but a much higher deductible and higher copayments.


                 FOR MORE INFORMATION

                 This notice does not fully describe COBRA coverage or other rights under the Plan. More information about COBRA coverage and your rights
                 under the Plan is available to you in your SPD or from the Plan Administrator.

                 If you have questions about claims for reimbursement, please contact your sponsoring employer, group health insurance carrier or the claims office
                 indicated on your claim forms or insurance card.

                 For additional information about your COBRA rights and obligations under federal law, please review the Plan's SPD or contact Anthem at
                 877-775-9393 or the above address.

                 For more information about your rights under ERISA, including COBRA, the Health Insurance Portability and Accountability Act (HIPAA), the
                 Patient Protection and Affordable Care Act, and other laws affecting group health plans, visit the U.S. Department of Labor's Employee Benefits
                 Security Administration (EBSA) website at www.dol.gov/ebsa or call their toll-free number at 1-866-444-3272. For more information about health
                 insurance options available through the Marketplace, and to locate an assister in your area to whom you can speak about the different options, visit
                 www.HealthCare.gov.
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                 Anthem Blue Cross and Blue Shield is the trade name of: In Colorado: Rocky Mountain Hospital and Medical Service, Inc. HMO products underwritten by HMO Colorado, Inc. In Connecticut: Anthem Health Plans, Inc. In
                 Georgia: Blue Cross and Blue Shield of Georgia, Inc. In Indiana: Anthem Insurance Companies, Inc. In Kentucky: Anthem Health Plans of Kentucky, Inc. In Maine: Anthem Health Plans of Maine, Inc. In Missouri (excluding
                 30 counties in the Kansas City area): RightCHOICE® Managed Care, Inc. (RIT), Healthy Alliance® Life Insurance Company (HALIC), and HMO Missouri, Inc. RIT and certain affiliates administer non-HMO benefits
                 underwritten by HALIC and HMO benefits underwritten by HMO Missouri, Inc. RIT and certain affiliates only provide administrative services for self-funded plans and do not underwrite benefits. In Nevada: Rocky Mountain
                 Hospital and Medical Service, Inc. HMO products underwritten by HMO Colorado, Inc., dba HMO Nevada. In New Hampshire: Anthem Health Plans of New Hampshire, Inc. In Ohio: Community Insurance Company. In
                 Virginia Anthem Health Plans of Virginia, Inc. trades as Anthem Blue Cross and Blue Shield in Virginia, and its service area is all of Virginia except for the City of Fairfax, the Town of Vienna, and the area east of State Route
                 123. In Wisconsin: Blue Cross Blue Shield of Wisconsin (BCBSWi), which underwrites or administers the PPO and indemnity policies; Compcare Health Services Insurance Corporation (Compcare), which underwrites or
                 administers the HMO policies; and Compcare and BCBSWi collectively, which underwrite or administer the POS policies. Independent licensees of the Blue Cross and Blue Shield Association. ® ANTHEM is a registered
                 trademark of Anthem Insurance Companies, Inc. The Blue Cross and Blue Shield names and symbols are registered marks of the Blue Cross and Blue Shield Association.


                                                                                                                                                                                                                                                Ex. B at 13
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                                                                         Ex. B at 14
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                 Get help in your language
                 Curious to know what all this says? We would be too. Here’s the English version:
                 This notice has important information about your application or benefits. Look for important dates. You might need
                 to take action by certain dates to keep your benefits or manage costs. You have the right to get this information
                 and help in your language for free. Call the Member Services number on your ID card for help. (TTY/TDD: 711)

                 Spanish
                 Este aviso contiene información importante acerca de su solicitud o sus beneficios. Busque fechas importantes.
                 Podría ser necesario que actúe para ciertas fechas, a fin de mantener sus beneficios o administrar sus costos.
                 Tiene el derecho de obtener esta información y ayuda en su idioma en forma gratuita. Llame al número de
                 Servicios para Miembros que figura en su tarjeta de identificación para obtener ayuda. (TTY/TDD: 711)

                 Chinese
                 㛔忂䞍㚱冯ぐ䘬䓛婳ㆾ⇑䙲䚠斄䘬慵天屯妲ˤ婳䔁シ慵天㖍㛇ˤぐ⎗傥暨天⛐䈡⭂㖍㛇⇵㍉⍾埴≽ẍ䵕嬟ぐ䘬⇑䙲
                 ㆾ䭉䎮屣䓐ˤぐ㚱㪲ἧ䓐ぐ䘬婆妨⃵屣䌚⼿娚屯妲␴⋼≑ˤ婳㑍ㇻぐ䘬 ID ⌉ᶲ䘬ㆸ⒉㚵⊁嘇䡤⮳㯪⋼≑ˤ
                 (TTY/TDD: 711)

                 Vietnamese
                 Thông báo này có thông tin quan trọng về đơn đang ký hoặc quyền lợi bảo hiểm của quý vị. Hãy tìm các ngày
                 quan trọng. Quý vị có thể cần phải có hành động trước những ngày nhất định để duy trì quyền lợi bảo hiểm hoặc
                 quản lý chi phí của mình. Quý vị có quyền nhận miễn phí thông tin này và sự trợ giúp bằng ngôn ngữ của quý vị.
                 Hãy gọi cho Dịch Vụ Thành Viên trên thẻ ID của quý vị để được giúp đỡ. (TTY/TDD: 711)

                 Korean
                 ࢇ ˓ए‫ی‬ତ߾Е ̆ଜࢂ ‫ݦ‬ঐ۰ ӖЕ ୊੔߾ оଞ ࣸࡁଞ ࢽ‫ؿ‬ɼ ࢑‫ݡ‬ТЬ. ࣸࡁ Τजձ ‫ۑ‬૛ ‫ࠝݤݫؿ‬. ୊੔ࡶ
                 ࡪएଜʠΟ ‫˗ ࡶࡈٸ‬չଜ̛ ࡢଥ ઞࢽ ցʃࢊ̧ए ࣏৔ձ ীଥߞ ଟ ܹ ࢑‫ݡ‬ТЬ. ̆ଜ߾ʯЕ ‫ה‬ՎԻ ࢇ ࢽ‫ؿ‬ձ
01073310007708




                 ߱ˈ ̆ଜࢂ ߯߭Ի Ѧࡏࡶ ؇ࡶ ̀չɼ ࢑‫ݡ‬ТЬ. Ѧࡏࡶ ߱ࡳԮִ ̆ଜࢂ ID ৞Җ߾ ࢑Е ୣࡕ ۰‫୎ء ݛٸ‬Ի
                 ࢷ୘ଜ‫ࠝݤݫ‬. (TTY/TDD: 711)

                 Tagalog
                 May mahalagang impormasyon ang abisong ito tungkol sa inyong aplikasyon o mga benepisyo. Tukuyin ang
                 mahahalagang petsa. Maaaring may kailangan kayong gawin sa ilang partikular na petsa upang mapanatili ang
                 inyong mga benepisyo o mapamahalaan ang mga gastos. May karapatan kayong makuha ang impormasyon at
                 tulong na ito sa ginagamit ninyong wika nang walang bayad. Tumawag sa numero ng Member Services na nasa
                 inyong ID card para sa tulong. (TTY/TDD: 711)

                 Russian
                 Настоящее уведомление содержит важную информацию о вашем заявлении или выплатах. Обратите
                 внимание на контрольные даты. Для сохранения права на получение выплат или помощи с расходами от
                 вас может потребоваться выполнение определенных действий в указанные сроки. Вы имеете право
                 получить данную информацию и помощь на вашем языке бесплатно. Для получения помощи звоните в
                 отдел обслуживания участников по номеру, указанному на вашей идентификационной карте. (TTY/TDD:
                 711)

                 Arabic
                      ‫ ﻗد ﺗﺣﺗﺎج إﻟﻰ اﺗﺧﺎذ إﺟراء ﻗﺑل ﻣواﻋﯾد ﻣﺣددة‬.‫ اﺣرص ﻋﻠﻰ ﺗﺗﺑﻊ اﻟﻣواﻋﯾد اﻟﻣﮭﻣﺔ‬.‫ﯾﺣﺗوي ھذا اﻹﺷﻌﺎر ﻋﻠﻰ ﻣﻌﻠوﻣﺎت ﻣﮭﻣﺔ ﺣول طﻠﺑك أو اﻟﻣزاﯾﺎ اﻟﻣﻘدﻣﺔ ﻟك‬
                    ‫ ﯾُرﺟﻰ اﻻﺗﺻﺎل ﺑرﻗم ﺧدﻣﺎت اﻷﻋﺿﺎء اﻟﻣوﺟود ﻋﻠﻰ ﺑطﺎﻗﺔ‬.‫ ﯾﺣق ﻟك اﻟﺣﺻول ﻋﻠﻰ ھذه اﻟﻣﻌﻠوﻣﺎت واﻟﻣﺳﺎﻋدة ﺑﻠﻐﺗك ﻣﺟﺎًﻧﺎ‬.‫ﻟﻼﺣﺗﻔﺎظ ﺑﺎﻟﻣزاﯾﺎ أو ﻹدارة اﻟﺗﻛﻠﻔﺔ‬
                                                                                                                     .(TTY/TDD:711)‫اﻟﺗﻌرﯾف اﻟﺧﺎﺻﺔ ﺑك ﻟﻠﻣﺳﺎﻋدة‬

                 Armenian
                 Այս ծանուցման մեջ ներկայացված են կարևոր տեղեկություններ Ձեր խնդրագրի կամ նպաստների
                 վերաբերյալ: Ուշադրություն դարձրեք այնտեղ նշված ամսաթվերին, դրանք կարևոր են: Հնարավոր է, Ձեզնից
                 պահանջվի կատարել որոշակի գործողություններ, որպեսզի ձեր նպաստները շարունակվեն կամ, որպեսզի
                 վերահսկեք ծախսերը: Դուք իրավունք ունեք Ձեր լեզվով անվճար ստանալ այս տեղեկատվությունը և
                 ցանկացած օգնություն: Օգնություն ստանալու համար զանգահարեք Անդամների սպասարկման կենտրոն՝
                 Ձեր ID քարտի վրա նշված համարով: (TTY/TDD: 711)


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                                                                                                                                                   Ex. B at 15
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Farsi
    ‫ ﺑﮫ ﺗﺎرﯾﺨﮭﺎی ﻣﮭﻢ دﻗﺖ‬.‫اﯾﻦ اﻃﻼﻋﯿﮫ ﺣﺎوی اﻃﻼﻋﺎت ﻣﮭﻢ در ﻣﻮرد درﺧﻮاﺳﺖ ﯾﺎ ﻣﺰاﯾﺎی ﺷﻤﺎ اﺳﺖ‬
 ‫ ﻣﻤﮑﻦ اﺳﺖ ﻻزم ﺑﺎﺷﺪ در ﺑﺮﺧﯽ ﺗﺎرﯾﺨﮭﺎی ﺧﺎص اﻗﺪاﻣﯽ اﻧﺠﺎم دھﯿﺪ ﺗﺎ ﻣﺰاﯾﺎی ﺧﻮد را ﺣﻔﻆ‬.‫ﮐﻨﯿﺪ‬
      ‫ ﺷﻤﺎ اﯾﻦ ﺣﻖ را دارﯾﺪ ﮐﮫ اﯾﻦ اﻃﻼﻋﺎت و ﮐﻤﮑﮭﺎ را ﺑﮫ‬.‫ﮐﻨﯿﺪ ﯾﺎ ھﺰﯾﻨﮫھﺎ را ﻣﺪﯾﺮﯾﺖ ﮐﻨﯿﺪ‬
    ‫ ﺑﺮای درﯾﺎﻓﺖ ﮐﻤﮏ ﺑﮫ ﺷﻤﺎره ﻣﺮﮐﺰ ﺧﺪﻣﺎت اﻋﻀﺎء‬.‫ﺻﻮرت راﯾﮕﺎن ﺑﮫ زﺑﺎن ﺧﻮدﺗﺎن درﯾﺎﻓﺖ ﮐﻨﯿﺪ‬
                       .(TTY/TDD:711)‫ ﺗﻤﺎس ﺑﮕﯿﺮﯾﺪ‬،‫ﮐﮫ ﺑﺮ روی ﮐﺎرت ﺷﻨﺎﺳﺎﯾﯽﺗﺎن درج ﺷﺪه اﺳﺖ‬
French
Cette notice contient des informations importantes sur votre demande ou votre couverture. Vous y trouverez
également des dates à ne pas manquer. Il se peut que vous deviez respecter certains délais pour conserver votre
couverture santé ou vos remboursements. Vous avez le droit d’accéder gratuitement à ces informations et à une
aide dans votre langue. Pour cela, veuillez appeler le numéro des Services destinés aux membres qui figure sur
votre carte d’identification. (TTY/TDD: 711)
Japanese
傹僔傰▱僯僁僑僕傎储僐僅僔⏦ㄳ僤僅僕⤥௜㔠僑㛵傿僱㔜せ僐᝟ሗ傲ྵ僤僲僌傪僤傿傏㔜せ僐᪥௜僸᥈傽僌債僆傻傪傏⤥௜㔠僔⥔
ᣢ傎储僱傪僕㈝⏝僔⟶⌮僔僅僧僑傎≉ᐃ僔᪥僤働僑⾜ື傿僱ᚲせ傲储僱傱僨傽僲僤僁價傏傹僔᝟ሗ僎ᨭ᥼僸ᕼᮃ傿僱ゝㄒ働↓ᩱ働
ཷ傷僱傹僎傲働傳僤傿傏ᨭ᥼僸ཷ傷僱僑僕傎ID儏兠儭僑グ㍕傻僲僌傪僱充兗儴兠儙兠儷儝␒ྕ僑㟁ヰ傽僌債僆傻傪傏(TTY/TDD: 711)䢢

 Haitian
 Avi sa a gen enfòmasyon enpòtan sou aplikasyon ou an oswa avantaj ou yo. Veye dat enpòtan yo. Ou ka bezwen
 pran aksyon avan sèten dat pou kenbe avantaj ou yo oswa jere depans ou yo. Ou gen dwa pou resevwa
 enfòmasyon sa a ak asistans nan lang ou pou gratis. Rele nimewo Manm Sèvis la ki sou kat idantifikasyon ou a
 pou jwenn èd. (TTY/TDD: 711)

Italian
Il presente avviso contiene informazioni importanti relative alla domanda da lei presentata o ai benefici a lei
riservati. Consulti le date importanti riportate. Per continuare a usufruire dei benefici o ricevere assistenza per il
pagamento delle spese, potrebbe dover eseguire determinate azioni entro scadenze specifiche. Ha il diritto di
ricevere queste informazioni ed eventuale assistenza nella sua lingua senza alcun costo aggiuntivo. Per
assistenza, chiami il numero dedicato ai Servizi per i membri riportato sul suo libretto. (TTY/TDD: 711)
Polish
Niniejsze powiadomienie zawiera istotne informacje dotyczące wniosku lub świadczeń. Zwróć uwagę na ważne
daty. Zachowanie świadczeń lub zarządzanie kosztami może wymagać podjęcia dodatkowych działań w
konkretnych terminach. Masz prawo do bezpłatnego otrzymania stosownych informacji oraz uzyskania pomocy w
swoim języku. W tym celu skontaktuj się z Działem Obsługi Klienta pod numerem telefonu podanym na karcie
identyfikacyjnej. (TTY/TDD: 711)

Punjabi
‫كُب‬ٙ ٓ‫ٍٓُغ‬٬‫يئٔؼِْ ٕؿص‬ٞٔ‫ِوٗيْنإافٓبْمإْط‬٬‫ِوֿِ٘ٔيْذؾْطكيٖلٍؿ‬٬‫رٗفإأؿوٓكيٖلٍؿ‬ֿٙ‫ ٖكِْ ٕؿ‬٫َْ‫يٗفبْم ٗؾلافب‬٬‫إْؿزًْإْطؾر‬
‫لْف‬ᴆ‫ن‬٫‫ؿإأؿوٓؿصَٓكٓةًكيذق‬٬‫ذذ‬ٙ‫ًٔفكيذةٍْيْذة‬ٙ ٟ‫ ٖكِْ ٕؿֿجل‬٫‫ٍٓَْْهٔؾلا‬٬‫ٕوففوٗؿئٔيْذؾْطِبص‬٠‫ٍٓؿ‬٬‫لص‬ᴆْ‫ؿل‬
‫تؼيْذٔؼةا ٗؾلاةًففوֿِ٘يْذقٓئْفكيذ‬᷀‫وٗؿ‬ᶥ‫ٍُٓٓيُين‬ٞ‫ك‬٫‫يذًْذٗؿين‬ֿٙ(TTY/TDD: 711)




It’s important we treat you fairly
That’s why we follow federal civil rights laws in our health programs and activities. We don’t discriminate, exclude
people, or treat them differently on the basis of race, color, national origin, sex, age or disability. For people with
disabilities, we offer free aids and services. For people whose primary language isn’t English, we offer free
language assistance services through interpreters and other written languages. Interested in these services? Call
the Member Services number on your ID card for help (TTY/TDD: 711). If you think we failed to offer these
services or discriminated based on race, color, national origin, age, disability, or sex, you can file a complaint,
also known as a grievance. You can file a complaint with our Compliance Coordinator in writing to Compliance
Coordinator, P.O. Box 27401, Mail Drop VA2002-N160, Richmond, VA 23279. Or you can file a complaint with
the U.S. Department of Health and Human Services, Office for Civil Rights at 200 Independence Avenue, SW;
Room 509F, HHH Building; Washington, D.C. 20201 or by calling 1-800-368-1019 (TDD: 1- 800-537-7697) or
online at https://ocrportal.hhs.gov/ocr/portal/lobby.jsf. Complaint forms are available at
http://www.hhs.gov/ocr/office/file/index.html.

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